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                        Exhibit B
            Affidavit of Kayla Adams
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                      IN TFIE LINITED STATES DISTRICT COURT
                     FOR THE NORTFIERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

ALYSON RTIBIN and                                 *
JENNIFER HICKEY,                                  *
                                                  *
       Plaintiffs,                                {<
                                                        CIVIL ACTION
V                                                 *     FILE, NO. 1 : 19-CV-1 158-SCJ
                                                  *
CAPTAIN LEWIS YOUNG,                              *
Individually and in his official capacity         {<


As Chief of the Capitol Police Division           *
of the Georgia Department of Public               *
Safety, et al.,                                   *
                                                  *
       Defendants.                                *


                                            F KAYLA ADAM

                                              1



      Personally appearing before me, the undersigned officer duly authorized to

administer oaths in and for the State of Georgia, KAYLA ADAMS who, after

being duly swom, deposes and states the following:

                                             2

      My name is KAYLA ADAMS, and I am sui juris and competent to testiff in

this matter and under no civil or legal disability

                                             J


      I give this Affidavit   as evidence   in the above-styled action and for any other

lawful purpose.
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                                             4

      I   make this Afflrdavit based on my personal knowledge      of its   contents and

review of records routinely and regularly maintained in the ordinary course of

business by the Georgia Capitol Museum.

                                             5


      I am currently employed   as the   Tour and Education Manager for the Georgia

Capitol Museum. In this role,   I   conduct tours of the Georgia Capitol for visitors,

evaluate visitor experiences        at the   Georgia Capitol, develop educational

programming and content for the Capitol, oversee the scheduling of tours, develop

partnerships with groups   in the community for educational        opportunities, and

manage the Georgia Capitol Museum's volunteer program.

                                             6

      Many of the guided tours at the Georgia Capitol involve children. An

estimated 17,000 to 25,000 students visit the Georgia Capitol each year for guided

tours, mostly during the months of January through May. Most of the student tours

are for elementary-aged children.      In   2018, approximately 70Yo of the student

visitors between January and May were from elementary schools

                                            7


      The remaining Georgia Capitol student visitors for 2019 include tours

already scheduled    for 3ll3ll9; 3lI4ll9; 3ll5ll9; 3lI8lI9; 3ll9ll9;           3l20lI9;


                                             2
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3l21lt9;   3122119;   3l25l19; 3126l19; 3l27l19; 3l28lt9; 3l29l19; 4l2l19; 4l3l19;

4l5l19; 4l8l19; 4l9ll9; 4lr0l19; 4lrrl19; 4lr2l19; 4115lt9; 4l16lt9; 4l17l19;

4lt9l19; 4A9l19; 4l22l19; 4l23l19; 4l24l19; 4l25l19; 4126l19; 4l29l19; 4l30l19;

5lIlt9; 5l2lt9; 5l2l19; 513l19; 5l6lt9;        517119; 5l8l19; 519l19;   slr0lt9; 5lt3lt9;

5ll4ll9; 5lI5lI9;   5116119;   5lI7ll9;   and 5120119. The vast majority of student tours

remaining for 2019 are for elementary school students.

                                              8


       In addition to student tours, selÊguided tour groups led by legislators or

other parties are estimated to account for an additional 34,000 to 50,000 visitors to

the Georgia Capitol during the months of January through May.

                                              9

      The tours are conducted beginning in the Rotunda and move throughout the

Capitol Building. They generally discuss Georgia History, the Capitol Building,

and the lawmaking process. Tours end in the Georgia House of Representatives

and the Georgia State Senate. Groups are offered the opportunity to walk through

the galleries or to sit in the public galleries. Once tours end, the groups roam freely

through the building. Protestors can be encountered anywhere in the building.

                                             10.

      Records of weekly tour traffic are created and maintained through the tour

desk of the Georgia Capitol. My office collects and compiles the tour group


                                              J
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information at the time the tours are scheduled, and creates the weekly traffic

report at the start of each week.   I   make and maintain the reports myself in the

ordinary course of business. A true and accurate copy of the weekly traffic reports

from January 2018 to present are attached hereto as Exhibit B- 1 .

                                           11


       The weekly traffic reports reflect the tours and visitors scheduled for the

upcoming week. Not every visitor to the Georgia Capitol is captured in the weekly

traffic report. Only those groups who schedule through our office are included in

the report. Visitors who are hosted by a Legislator or who visit the Capitol

unscheduled are not included in the weekly traffic report.

       This   13   day of March, 2019.




                                                          AMS
                                                     a Capitol

Sworn to and subscribed before me
This f 3¡l¿'- day of March, 2019.




                 C                                           i , t ¡{CI OU 1
My   commission expires:




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